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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LINDA MIGLIORI, FRANCIS J. FOX,                    )
RICHARD E. RICHARDS, KENNETH                       )
RINGER, and SERGIO RIVAS,                          )    Civ. No. ______________________
                                                   )
                          Plaintiffs,              )
                                                   )
      v.                                           )
                                                   )
LEHIGH COUNTY BOARD OF                             )
ELECTIONS,                                         )
                                                   )
                     Defendant.                    )
_________________________________                  )



                          VERIFIED COMPLAINT
            FOR DECLARATORY AND EMERGENCY INJUNCTIVE RELIEF

       Plaintiffs Linda Migliori, Francis J. Fox, Richard E. Richards, Kenneth Ringer and Sergio

Rivas file this Complaint seeking declaratory and emergency injunctive relief pursuant to 42

U.S.C.§ 1983, 52 U.S. C. § 10101 and the United States Constitution.

                                        I.   INTRODUCTION

   1. Defendant Lehigh County Board of Elections (“Elections Board”) is poised on February

       1 to certify the results of the November 2, 2021, election without counting 257 mail-in

       ballots from registered, eligible voters simply because those voters mistakenly did not

       hand write the date next to their signature on the ballot-return envelope. The impending

       disenfranchisement will cause irreparable harm. “Voting is the cornerstone of our

       democracy and the fundamental right upon which all our civil liberties rest.” Wesberry v.
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   Sanders, 376 U.S. 1, 17 (1964). It includes the right of eligible voters both to cast their

   ballots and have them counted.

2. Plaintiffs consist of a bipartisan group of 5 voters among the 257 Lehigh County voters

   whose timely-submitted mail-in ballots for the November 2, 2021, election will not count

   because of the meaningless technicality that the ballots are missing the date next to their

   signature on the return envelope. The presence or absence of the date is immaterial to the

   integrity of the ballot, verification of timely delivery to the Elections Board, or any other

   important facet of the voting and tabulation process.

3. Plaintiffs and the remaining 252 voters are duly registered voters who timely applied for

   and returned mail-in ballots to the Elections Board. There are no indications or

   allegations of any impropriety, fraud or other defect in those ballots.

4. Rejecting the 257 undated ballots for an immaterial technical defect violates the

   Fourteenth Amendment to the United States Constitution and the Materiality Provision of

   the Civil Rights Act, 52 U.S.C. § 10101(a)(2)(B). Absent an injunction from this court,

   Plaintiffs will suffer imminent and irreparable harm because the Elections Board has

   noticed a meeting for Tuesday morning, February 1, at 9:00 a.m. to certify the election

   results without Plaintiffs’ votes. Therefore, Plaintiffs seek emergency relief to enjoin

   briefly the certification until such time as this Court can consider the merits of the

   plaintiffs’ federal claims.

                                        II.
                             JURISDICTION AND VENUE

5. This is a civil and constitutional rights action arising under 42 U.S.C. § 1983 and the

   Civil Rights Act, 52 U.S.C. § 10101.
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6. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

   (federal question jurisdiction) and 1343 (civil rights cases).

7. Declaratory relief is authorized by Rule 57 of the Federal Rules of Civil Procedure and

   28 U.S.C. §§ 2201 and 2202.

8. Venue in this district is proper under 28 U.S.C. § 1391 because a substantial part of the

   events giving rise to the claims occurred in this district and Defendant Lehigh County

   Board of Elections conducts business in this district.



                                      III. PARTIES


9. Plaintiff Linda Migliori is a Lehigh County voter facing disenfranchisement by the

   Elections Board solely because her timely-received mail ballot lacks a date next to the

   signature on the outer return envelope. Ms. Migliori is a retired preschool director. She

   has been a registered voter in Lehigh County since 1980 and lived at her current address

   for 24 years. Ms. Migliori started voting by mail in 2020 because of health and safety

   concerns created by the COVID-19 pandemic. For the November 2, 2021, election Ms.

   Migliori properly requested a mail-in ballot, marked her ballot, inserted it into the secrecy

   envelope and then into an outer envelope on which she signed the declaration. She

   believes she followed the instructions correctly. Ms. Migliori received an email

   confirmation from the Elections Board after depositing her ballot at a secure drop box

   location. No one ever contacted her to notify her that the outer envelope was missing the

   date. Had she been contacted, Ms. Migliori would have corrected the error. Ms. Migliori

   strongly believes that every voter deserves to have their voice heard and that valid ballots
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   should not be discarded because of a meaningless technicality. Ms Migliori’s declaration

   is attached as Ex. 1.

10. Plaintiff Francis Fox is a Lehigh County voter who is in danger of disenfranchisement by

   the Elections Board because he failed to write the date next to the signature on his ballot

   return envelope. Mr. Fox is a lifelong resident of the Lehigh Valley. He works as a blaster

   at the Effort Foundry in Bath, Pennsylvania. Mr. Fox has been a registered voter in

   Lehigh County since he was first able to register and votes in every election. Mr. Fox

   timely marked his ballot, inserted it into the secrecy envelope, placed both into the outer

   envelope, and signed the declaration. Mr. Fox believes he followed all instructions, but

   has learned that he is on the list of undated ballots that will not be counted. His wife is in

   the same predicament. Mr. Fox is very upset that his ballot will not count simply because

   the date next to his signature is missing. Mr. Fox’s declaration is attached as Ex. 2.

11. Plaintiff Richard Richards is Lehigh County voter who is in danger of disenfranchisement

   by the Elections Board because his timely-received mail ballot lacks a date next to the

   signature on the outer return envelope. Mr. Richards has lived in Allentown for

   approximately 10 years. He retired from his job as a painter in mid-2021. He has been a

   registered voter in Lehigh County since reaching the legal voting age. He votes regularly

   and has generally voted in every election for the past 20 years. Mr. Richards long has

   used absentee voting because his painting duties prevented him from appearing in person

   at his polling place. Mr. Richards timely marked and returned his ballot to the Elections

   Board well in advance of Election Day, signing the declaration on the return envelope but

   omitting the date. He received one email from the Elections Board, which confirmed
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   receipt of his ballot. He understood the message to indicate his ballot would be counted.

   Mr. Richards values voting because his parents voted in every election and taught him

   that voting is a civic duty. Mr. Richards’ declaration is attached as Ex. 3.

12. Plaintiff Sergio Rivas is a 76-year-old Lehigh County voter who is in danger of

   disenfranchisement by the Elections Board because his timely-received mail ballot lacks

   a date next to the signature on the outer return envelope. Mr. Rivas has been a registered

   Pennsylvania voter for 55 years. He has lived and voted in Lehigh County for the past 18

   years. Mr. Rivas votes in every election. He has voted by mail in the past several

   elections because his age makes it difficult to vote in person. Mr. Rivas timely marked

   and returned his ballot to the Elections Board well in advance of Election Day, signing

   the declaration on the return envelope but omitting the date. Mr. Rivas believed he

   correctly followed all instructions, but learned after the election that the Elections Board

   would not count his ballot because the outer envelope is missing the date. Mr. Rivas

   never received notice from the county that his ballot was somehow defective. Voting is

   very important to Mr. Rivas and he strongly believes that everyone’s votes should be

   counted. Mr. Rivas’ declaration is attached as Ex. 4.

13. Plaintiff Kenneth Ringer is a Lehigh County voter who is in danger of

   disenfranchisement by the Elections Board because his timely-received mail ballot lacks

   a date next to the signature on the outer return envelope. Mr. Ringer is a small business

   owner in Macungie Pennsylvania. He has been a registered voter in Lehigh County for

   20 years. Mr. Ringer voted by absentee ballot in the 2021 November election because he

   was away on vacation. Mr. Ringer returned his completed mail ballot and signed
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    declaration on the outer envelope to the Elections Board well in advance of Election Day.

    He does not recall whether he wrote the date next to his signature. He did not realize it

    was required and may have missed it. He received no notice from the Elections Board

    about his ballot. He returned his ballot in plenty of time to correct any problems. Mr.

    Ringer is disappointed that his ballot will not count simply because it is missing the date

    on the outer envelope. Voting is very important to Mr. Ringer because every vote can

    make a difference, especially in close elections. Mr. Ringer does not understand why the

    missing date would disqualify an otherwise valid ballot. Mr. Ringer’s declaration is

    attached as Ex. 5.

14. All 5 plaintiffs:

        a. Are over age 18, U.S. citizens, and residents of Pennsylvania and their districts

            for more than 30 days, making them qualified electors, legally entitled to vote

            under the United States and Pennsylvania constitutions;

        b. Voted a single ballot in the November 2, 2021, election and did so only by mail;

        c. Timely delivered their mail ballot to Defendant Board of Elections prior to the

            election deadline;

        d. Cast a mail ballot with one, and only one, identified “defect”—namely, they did

            not write the date next to their signatures on the outer envelope containing their

            ballots;

        e. Cast ballots that were otherwise properly completed and returned; and

        f. Did not have their ballot counted due solely to the missing date next to their

            signature on the outer envelope.
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       15. Defendant has issued notice that 257 mail-in ballots, including each of Plaintiffs’ ballots,

           will be disqualified and excluded from tabulation due to the missing dates when the

           election is certified on February 1.

       16. Defendant Lehigh County Board of Elections is the executive agency established under

           the Pennsylvania Election Code with jurisdiction over the conduct of primaries and

           elections and manages all aspects of elections in Lehigh county. See 25 Pa. Stat. Ann.

           § 2641. The Board’s authority includes canvassing and computing the votes cast in each

           of the county’s election districts and then certifying the results of each race to the

           Commonwealth of Pennsylvania’s Secretary of State. See 25 Pa. Stat. Ann. § 2642.


                                                        IV. FACTS



       17. Plaintiffs are 5 of 257 voters in Lehigh County whose mail ballots in the November 2,

           2021, election Defendant Elections Board is not counting solely because these voters did

           not include a handwritten date next to the voter’s signature on the outer envelope.

       18. In Pennsylvania, registered voters may vote by mail, either as an “absentee elector,” if

           they satisfy prescribed conditions, like current military service or absence from

           jurisdiction on Election Day, or as a “mail-in” elector if they apply timely for a ballot, See

           25 P.S. §§ 3146.1 and 3150.11, respectively.

       19. Under Pennsylvania law, identical procedures govern how voters apply for, complete and

           return both absentee and mail-in ballots.1 Under the Pennsylvania Election Code,

           registered voters may request an absentee ballot, if they fulfill the requirements for voting



1
    We refer to both types of ballots simply as “mail-in” or “mail” ballots.
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         absentee, or any registered voter may request a mail-in ballot from their county board of

         elections. Pennsylvania mail ballot applications require the voter to provide their name,

         address of registration, and proof of identification, 25 P.S. §§ 3146.2, 3150.12. Proof of

         identification includes either a Pennsylvania driver’s license number or the last 4 digits of

         the voter’s social security number. 25 P.S. § 2602(z.5)(3). Once the county elections

         board verifies the voter’s identity and eligibility, they send a mail-ballot package that

         contains: 1) the ballot; 2) a “secrecy envelope” marked with the words “Official Election

         Ballot”; and 3) a pre-addressed outer return envelope that contains the voter declaration

         prescribed by law, which the voter must sign and date. The packet also contains

         instructions to the voter for marking their ballot and submitting it properly.

    20. Mail-ballot voters mark their ballot, place it in the secrecy envelope, and then place the

         secrecy envelope in the outer return envelope . Id. §§ 3146.6(a) and 3150.16(a). The

         outer envelope includes a printed declaration that the voter “shall then fill out, date and

         sign.” Id. The voter delivers the entire package by mail or by hand to their county

         elections board, and delivery is timely if made by 8:00 p.m. on Election Day. Id. §§

         3146.6(c) and 3150.16(c).2

    21. The missing handwritten date next to the voter’s signature on the outer envelope is the

         only reason Plaintiffs’ and the other mail voters’ ballots will not be counted. All of these

         voters were otherwise qualified electors who were registered to vote and who validly

         requested and timely returned their mail ballot.




2
 Different timelines govern uniform military and overseas electors, but the differences are immaterial to resolution
of this dispute.
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    22. Upon receipt of a mail ballot, counties, including Lehigh County, date stamp the envelope

       and log its receipt into the Statewide Uniform Registry of Electors (“SURE”) system,

       which is the statewide voter registration system used to generate poll books. These

       procedures are set forth in the Pennsylvania Department of State’s, “Guidance Concerning

       Examination Of Absentee And Mail-In Ballot Return Envelopes” (Sept. 11, 2020) at 2-3. 3

       Voters can check that their ballot has been received by the county on the Department of

       State’s website. See Election Ballot Status, Dep’t of State,

       https://www.pavoterservices.pa.gov/Pages/Ballot Tracking.aspx.

    23. Counties follow specific procedures to generate the poll books that are used for in-person

       voting on Election Day that ensure no voter who submitted a mail ballot will be permitted

       to vote twice on election day. See “Guidance Concerning Civilian Absentee And Mail-In

       Ballot Procedures,” (Sept. 28, 2020) at 7.4

    24. Timely absentee and mail-in ballots that county boards of elections have verified

       consistent with the procedures set forth in § 3146.8(g)(3), that have not been challenged,

       and for which there is no proof that the voter died prior to Election Day are counted and

       included with the election results. Id. § 3146.8(d), (g)(4).

    25. Whether the voter writes the date on the outer envelope does not affect either the

       timeliness of the ballot’s return or the Election’s Board verification of timeliness. This

       conclusion is consistent with the Pennsylvania Department of State’s existing guidance,



3

https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/Examination%20of%20Absentee%20and
%20Mail-In%20Ballot%20Return%20Envelopes.pdf
4

https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/DOS%20Guidance%20Civilian%20Abse
ntee%20and%20Mail-In%20Ballot%20Procedures.pdf
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   which instructs that the date written on the envelope is not “used to determine the

   eligibility of the voter.” See Ex. 6 (June 1, 2021 Email from Jonathan Marks, Deputy

   Secretary for Elections & Commissions, Dep’t of State, to County Election Officials). In

   short, the requirement that the voter write the date is immaterial to the integrity of the

   electoral process.

26. Whether Pennsylvania law, as opposed to the U.S. Constitution or the Materiality

   Provision of the Civil Rights Act, makes the date a precondition for counting the ballot

   has been the subject of recent state-court litigation.

27. During the 2020 general election, a question arose whether counties could count absentee

   and mail-in ballots returned without the voter having followed the statutory instruction to

   date the outer envelope. See §§ 3146.6(a) and 3150.16(a). The Pennsylvania Supreme

   Court ruled that such undated ballots could be counted for the 2020 general election. See

   In re Canvass of Absentee and Mail-In Ballots of Nov. 3, 2020 General Election [“In re

   2020 Canvass”], 241 A.3d 1058, 1079 (Pa. 2020) (opinion announcing judgment). The

   Court did not, however, produce a majority opinion.

28. Three Justices concluded that undated ballots should be counted because the

   Pennsylvania Election Code’s date rule is directory rather than mandatory. Id. at 1076

   (opinion announcing judgment). A voter’s non-compliance with some part of the

   Election Code can justify disenfranchisement, the plurality explained, only if the

   underlying instruction serves a “weighty interest.” Id. (opinion announcing judgment).

   And the date written on the outer envelope “does not implicate any weighty interest.” Id.

   at 1078 (opinion announcing judgment).
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29. Three other Justices wrote that undated ballots should not be counted, even for the 2020

   election, because § 3146.6(a)’s and § 3150.16(a) “shall . . . date” language supplies an

   unambiguous, mandatory direction. Id. at 1090–91 (Dougherty, J., concurring and

   dissenting).

30. In concurring, Justice Wecht rejected the “weighty interest” analysis, writing instead that

   the Election Code’s instruction that voters “shall . . . date” the outer envelope is an

   “unmistakable statutory directive” that voters must follow. Id. at 1085-87 (Wecht, J.,

   concurring and dissenting). Justice Wecht agreed, however, that undated ballots should

   be counted for the 2020 election because even diligent voters would not have known the

   consequence of omitting the date. Id. at 1089 (Wecht, J., concurring and dissenting).

   Importantly, four justices, including Justice Wecht, observed that voiding undated ballots

   may conflict with the federal “Materiality Provision” in 52 U.S.C. § 10101(a)(2)(B). In

   re 2020 Canvass, 241 A.3d at 1074 n.5 (opinion announcing judgment); id. at 1089 n.54

   (Wecht, J., concurring and dissenting).

31. After the most recent election on November 2, 2021, a candidate for the Court of

   Common Pleas challenged Lehigh County’s determination to count undated mail ballots.

   On November 17, 2021, judicial candidate, David Ritter, appealed the Lehigh County

   Board of Elections’ determination that it would count 257 mail-in ballots that were

   missing a date on the outer envelope, along with 4 ballots that had the date written in the

   wrong place. On November 30, 2021, the Lehigh County Court of Common Pleas

   affirmed the Board’s decision to count all 261 ballots. A true and correct copy of the

   decision is attached as Ex. 7.
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32. On January 3, 2022, in an unpublished, 2-1 opinion, the Commonwealth Court reversed

   the decision below, effectively crediting Justice Wecht’s 2020 concurrence as the decisive

   vote on whether the statutory language requiring a date is mandatory. Ritter v. Lehigh

   Cty. Bd. of Elections, No. 1322 C.D. 2021, 2022 WL 16577 (Pa. Commw. Ct. Jan. 3,

   2022). A copy of the slip opinion is attached as Ex. 8. The Commonwealth Court did

   not meaningfully engage with a secondary argument, raised sua sponte by the common

   pleas court, whether the Materiality Provision dictates the necessary statutory

   interpretation.

33. On January 27, the Pennsylvania Supreme Court denied review. Ritter v. Lehigh Cty. Bd.

   Of Election, No. 9 MAL 2022, 2022 WL 244122 (Pa. Jan. 27, 2022).

34. Following that decision, the Lehigh County Court of Common Pleas issued an order on

   remand directing the Elections Board “to exclude the 257 ballots at issue in this case that

   fail to include a date on the return envelope from the certified returns of the 2021

   municipal election of Lehigh County.” A true and correct copy of the January 27, 2022,

   Common Pleas order is attached as Ex. 9.

35. On January 28, 2022, the Elections Board issued notice of a meeting on February 1,

   2022, “for the purpose of Final Certification of the conditional results for the 2021

   Municipal Election within Lehigh County and for general purposes.” A true and correct

   copy of the Elections Board’s notice is attached as Ex. 11.
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       36. The stark consequence of the Ritter litigation is that the 257 Lehigh County voters will be

           disenfranchised, including Plaintiffs, when the Defendant Board votes to certify the

           election results on Tuesday morning, February 1.5

       37. The impending disenfranchisement of these voters constitutes irreparable harm for which

           there is no adequate remedy at law.


                                                     V. CLAIMS

       Count I: Rejection of Ballots for Immaterial Errors or Omissions in Violation of the
                          Materiality Provision of the Civil Rights Act
                         (52 U.S.C. § 10101(a)(2)(B), 42 U.S.C. § 1983)

       38. Plaintiffs rely upon all the paragraphs of this Complaint, which are incorporated into this

           Count I as if fully restated here.

       39. The Materiality Provision of the Civil Rights Act (“CRA”) prohibits disqualifying voters

           “because of an error or omission on any record or paper relating to any application,

           registration, or other act requisite to voting, if such error or omission is not material in

           determining whether such individual is qualified under State law to vote in such

           election.” 52 U.S.C. § 10101(a)(2)(B) (formerly codified at 42 U.S.C. § 1971).

       40. The CRA directs that “vote” in this context means “all action necessary to make a vote

           effective including, but not limited to, registration or other action required by State law

           prerequisite to voting, casting a ballot, and having such ballot counted and included in the

           appropriate totals of votes cast with respect to candidates for public office and

           propositions for which votes are received in an election.” Id. §§ 10101(a)(3)(A),

           10101(e).



5
    The four voters who included a date but placed it incorrectly will be counted.
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41. Defendant’s disqualification of Plaintiffs’ ballots constitutes denial of Plaintiffs’

   fundamental right to vote by denying their ability to cast a ballot or have it “counted and

   included in the appropriate totals of votes cast” in the 2021 election. Id. Doing so based

   solely on the failure to add handwritten dates alongside their signatures on

   mail-in-ballot-return envelopes constitutes a denial of the right to vote “because of an

   error or omission on [a] record or paper relating to . . . [an] act requisite to voting,” in

   violation of the Materiality Provision because omission of the date on the envelope is

   “not material in determining whether” Plaintiffs were “qualified under [Pennsylvania]

   law to vote.” Id. § 10101(a)(2)(B).

42. In Pennsylvania, the state constitution establishes the only “qualifications” needed to “be

   entitled to vote at all elections.” To qualify as an eligible voter, each individual is only

   required to be: a citizen of the United States; over the age of eighteen (as modified by the

   Twenty-Sixth Amendment to the U.S. Constitution); a resident of the Commonwealth of

   Pennsylvania; and a resident of the election district in which the person offers to vote.

   See Pa. Const. Art. VII, § 1.

43. The date on which an eligible voter completed and signed a mail-in ballot bears no

   relation to voter qualification in Pennsylvania, especially where there is no question that

   the Elections Board timely received the ballots before the voting deadline.

44. A voter’s failure to hand write the date next to their signature on the ballot return

   envelope is not material to determining their qualification to vote.

45. As set forth supra, Pennsylvania law requires each mail-in voter to demonstrate

   eligibility and qualification to vote prior to being issued a mail-in ballot. See 25 P.S. §§
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     3146.2, 3150.12. Each Plaintiff was qualified to vote under the criteria set forth in the

     Pennsylvania Constitution, applied for a mail-in ballot, and received one prior to the

     election deadline.

 46. Each Plaintiff completed their mail-in ballots in all material respects, omitting only the

     date when they signed the outer return envelope, and submitted their ballots to the

     Election Board pursuant to the terms of the Election Code prior to the deadline for

     submission of mail-in ballots. When mail ballots are returned is objectively verifiable.

 47. It is undisputed that the 257 undated Lehigh County mail-in ballots, including Plaintiffs’

     ballots, were timely received by the Election Board prior to the 8:00 p.m. deadline on

     election day. The date on which these voters signed their return envelopes is therefore

     immaterial to determining either their eligibility to vote or the timeliness of their ballots.

 48. The rejection of otherwise-valid ballots for immaterial errors or omissions is contrary to

     the Materiality Provision of the Civil Rights Act, 52 U.S.C. § 10101(a)(2)(B), and will

     result in the disenfranchisement of hundreds of Lehigh County, Pennsylvania voters who

     submitted timely mail-in ballots for the 2021 election, unless enjoined by this Court.



Count II: Undue Burden on the Fundamental Right to Vote in Violation of the First and
             Fourteenth Amendments to the United States Constitution
                   (U.S. Const. Amend. I, XIV, 42 U.S.C. § 1983)

 49. Plaintiffs rely upon all the paragraphs of this Complaint, which are incorporated into this

     Count II as if fully restated here.

 50. Pennsylvania used a preprinted outer return envelope for mail-in ballots during the 2021

     election, a true and correct copy of which is attached as Ex. 10. The envelope is covered
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   with a finely printed “Voter’s declaration” and two alternative signature fields—one for

   voters signing on their own behalf and the other to be completed on behalf of voters

   “unable to sign their declaration because of illness or physical disability.” Id. The blank

   fields for voters to complete are accompanied by even finer print indicating what

   information is to be included on each blank line. For voters signing on their own behalf,

   the return envelope includes a blank signature box with a dark X indicating where to sign.

   Next to that box is a blank line with the word “Date” printed underneath it in tiny font. Id.

51. The requirement that mail-in voters locate the correct date field and write the date next to

   their signature on the ballot return envelope is a superfluous requirement that adds to the

   burdens of voting. However slight this additional burden may be, its enforcement will

   result in denial of the fundamental right to vote for Plaintiffs and 252 other Lehigh

   County voters, a disproportionate number of whom are elderly.

52. Under the First and Fourteenth Amendments to the United States Constitution, a court

   considering a challenge to a state election law must carefully balance the character and

   magnitude of injury to the plaintiff’s right to vote against “the precise interests put

   forward by the State as justifications for the burden imposed by its rule, taking into

   consideration the extent to which those interests make it necessary to burden the

   plaintiff’s rights.” Burdick v. Takushi, 504 U.S. 428, 434 (1992) (internal quotation marks

   omitted); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983). Even the slightest of

   burdens on the fundamental right to vote must be supported by some “important

   regulatory interest” for the state. Id.
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53. A handwritten date requirement is not supported by any articulable state interest, let alone

   an important one, especially given the other requirements of Pennsylvania’s Election

   Code. Mail-in ballots received by a County Election Office after 8:00 p.m. on Election

   Day may not be counted under Pennsylvania law, regardless of when they are signed and

   dated.

54. A handwritten date on a return envelope also is unnecessary to confirm a voter’s “desire

   to cast [a mail-in ballot] in lieu of voting in-person,” does not “establish[] a point in time

   against which to measure the elector’s eligibility to cast the ballot,” and is unnecessary to

   “ensure[] the elector completed the ballot within the proper time frame.” See In re 2020

   Canvass, 241 A.3d at 1090 (Dougherty, J., concurring and dissenting).

55. Even if Lehigh County had “important regulatory interests” in requiring voters to

   handwrite a date on a mail-in ballot return envelope or else lose their fundamental right to

   vote, those interests do not justify “‘the burden imposed by its rule,’ taking into

   consideration ‘the extent to which those interests make it necessary to burden the

   plaintiff’s rights.” Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 788-89).

   Whatever regulatory interest Lehigh County has in requiring voters to handwrite a date

   on a return envelope, it does not justify the irretrievable deprivation of Plaintiffs’

   fundamental right to vote. This burden is particularly unjustified where Lehigh County

   did not notify Plaintiffs that their ballots would be rejected solely due to having an

   undated return envelope, and did not offer any opportunity to cure.
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Count III. Denial of Plaintiffs’ Voting Rights Without Pre-Denial Notice and Opportunity
to Cure Ballot Errors in Violation of the Procedural Due Process Clause of the Fourteenth
                      Amendment to the United States Constitution
                       (U.S. Const. Amend. XIV, 42 U.S.C. § 1983)

  56. Plaintiffs rely upon all the paragraphs of this Complaint, which are incorporated into this

      Count III as if fully restated here.

  57. Pennsylvania has conferred on all eligible voters a constitutionally protected liberty

      interest in casting ballots by mail. See 25 P.S. § 3150.11; see also Wilkinson v. Austin, 545

      U.S. 209, 221 (2005) (“A liberty interest may arise from the Constitution itself . . . or it

      may arise from an expectation or interest created by state laws or policies.”).

  58. At a minimum, procedural due process requires that the State provide the voter

      pre-deprivation notice and an opportunity to be heard before being denied their protected

      liberty interest. See Mathews v. Eldridge, 424 U.S. 319, 335 (1976). Because there is no

      possibility of a meaningful post-deprivation process when a voter’s ballot is

      rejected—there is no way to vote after an election has passed—sufficient pre-deprivation

      process is the constitutional imperative. See, e.g., Martin v. Kemp, 341 F. Supp. 3d 1326,

      1338 (N.D. Ga. 2018) (“Given that the State has provided voters with the opportunity to

      vote by absentee ballot, the State must now recognize that the “privilege of absentee

      voting is certainly deserving of due process.”) (internal citation and quotations omitted).

  59. Neither Pennsylvania law nor the Lehigh County Election Board’s procedures provide

      any process for notifying voters of any issue with the inclusion or omission of a date

      alongside their signatures on mail-in ballot return envelopes. No Plaintiff received any

      communication from the Election Board even suggesting that their ballots would not be

      counted for failure to include a handwritten date on the return envelope. Indeed, the only
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   communications any Plaintiff received from the Election Board following submission of

   their mail-in ballots were to confirm that the ballots were received and indicated to the

   voters that their ballots would be counted.

60. Defendant’s failure to ensure mail voters are provided with notice and an opportunity to

   cure defects in their absentee and mail-in ballot envelopes prior to rejecting those ballots

   fails to meet minimum requirements of procedural due process and is therefore

   unconstitutional.

61. Under the framework set forth in Mathews, courts balance three factors: (1) “the private

   interest that will be affected by the official action;” (2) “the risk of an erroneous

   deprivation of such interest through the procedures used, and the probable value, if any,

   of additional or substitute procedural safeguards;” and (3) “the Government’s interest,

   including the function involved and the fiscal and administrative burdens that the

   additional or substitute procedural requirement would entail.” Mathews, 424 U.S. at 335.

62. Balancing those factors here demonstrates that Lehigh County, by rejecting mail-in

   ballots with undated envelopes without providing notice of rejection and opportunity to

   cure, will deprive Plaintiffs of their fundamental right to vote in violation of the Due

   Process Clause. First, the private interest at stake is of the utmost constitutional

   importance—the fundamental right to vote. See Harper v. Va. Bd. of Elections, 383 U.S.

   663, 667 (1966). Second, risk of erroneous deprivation is self-evident, as hundreds of

   voters who timely submitted ballots and thought their votes would be counted are instead

   disenfranchised based on failure to meet a mere administrative directive that bears no
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        relationship to the qualifications of the voters. And third, there is no legitimate

        government interest to be furthered by enforcing the handwritten date requirement.

   63. Absent an order issued by this Court, Plaintiffs and hundreds of other Pennsylvania

        voters face deprivation of their fundamental right to vote without due process of law.



                                     PRAYER FOR RELIEF

   WHEREFORE Plaintiffs respectfully request that this Court enter judgment in favor of

Plaintiffs and provide the following relief:

   1.      Declaration that enforcement of the handwritten date requirement under 25 P.S. §

           3150.16(a) to reject timely submitted mail-in ballots based solely on failure to insert

           the date next to the voter’s signature on the return envelope:

           a. Violates the Materiality Provision of the Civil Rights Act, 52 U.S.C. §

               10101(a)(2)(B); and

           b. Violates the First and Fourteenth Amendments to the United States Constitution

               on their face.

   2.      Declaration that Defendant’s failure to ensure mail-in voters are provided with

           pre-deprivation notice and an opportunity to cure defects in their absentee and mail-in

           ballot envelopes prior to rejecting those ballots fails to meet minimum requirements

           of procedural due process and is therefore unconstitutional.

   3.      Injunctive relief preliminarily and permanently enjoining Defendant and all persons

           acting on its behalf from:
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          a. Rejecting or otherwise not counting the 257 otherwise-valid mail-in ballots timely

                submitted by 8:00 p.m. on Election Day based solely on the failure to include a

                date on the return envelope; and

          b. Certifying the 2021 election in Lehigh County without counting such mail-in

                ballots.

   4.     Award Plaintiff costs and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;

          and

   5.     Grant such other relief as this Court deems just and appropriate.



                                             Respectfully submitted,



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Dated: January 31, 2022
